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CLERK US DISTRICT COURT
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FILED

Daro B Gross 2021 DEC 14 AM 10: 08

400 N Evary St, #131432
Dallas, TX 75313
(408) 348-9110 DEPUTY crerk MS

darogross@gmail.com

Plaintiff in Pro Se

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

DALLAS DIVISION

3-21CV3107-%

Daro B Gross, CASE NO.
Plaintiff,
COMPLAINT
Vv.
Jocelyn Michels Stufflebean, JURY TRIAL DEMANDED

John Stufflebean,
David |. Gross,
Mieke Strand
Lauren E. Jones,
Julie A. Amede,
Joseph F. Derrough,
William Hoyt,

Bart Call,

Defendants.

 

 

SUMMARY OF THE ACTION

Plaintiff brings this Complaint against Defendants operating a Federal RICO criminal
enterprise (18 USC § 1962) that murdered Plaintiff's mother, seized millions of dollars of Plaintiff

property, issued death threats to force Plaintiff to leave his home and place of business and flee

 

 

 

 
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from California to Texas, and continues to seek to prevent Plaintiff from recovering through the

courts with threats of violence against Plaintiff, extortion, and abuse of process.

JURISDICTION AND VENUE

 

1. The parties are diverse and the amount exceeds $75,000. (28 USC § 1332)
2. The action arises under federal statutes of the United States. (28 USC § 1331)
3. This Court has jurisdiction over Plaintiff's related state claims pursuant to the doctrine of

supplemental jurisdiction. (28 U.S.C. § 1367)

PARTIES OF THE CASE

4. Plaintiff Daro B. Gross is a resident of Dallas, Texas at 400 N Evary St, #131432, Dallas, TX
75313 (email: darogross@gmail.com).

5. Defendant Jocelyn Michels Stufflebean, is an employee of Adobe Inc. and resident of San
Diego, California, at 8462 Hinterland Drive, San Diego, CA 92127 (email:
jmichels@adobe.com, jocelynmichels@yahoo.com).

6. Defendant John Stufflebean, is an employee of the City of San Diego and resident of San
Diego, California, at 8462 Hinterland Drive, San Diego, CA 92127 (email:
jstufflebean@gmail.com, phone: (408) 807-9824).

7. Defendant David |. Gross, is a photographer with last known residence in Los Gatos,
California (email: davidgross@me.com).

8. Defendant Mieke Strand, is a photographer with last known residence in Los Gatos,
California (email: mieke@miekestrand.com).

9. Defendant Lauren E. Jones, is an attorney with Gallagher, Reedy, and Jones of Los Gatos,

California at 19A North Santa Cruz Avenue, Los Gatos, CA 95030 (email: grj@grjlaw.com)

 

 

 

 
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Defendant Julie A. Amende, is the Department 13 judge of the Santa Clara County Probate
Court in San Jose, California (email: Department13@scscourt.org).

Defendant Joseph F. Derrough, is an Obstetrician-Gynecologist that works in Hospice &
Palliative Medicine for Sutter Health in San Jose, California with last known address of 276
Hospital Pkwy, San Jose, CA 95119 (phone: (408) 972-3000).

William Hoyt, is a police officer with the Los Gatos Monte Sereno Police department and
works in Los Gatos, California (email: hhoyt@losgatosca.gov).

Defendant Bart Call, is a realtor with Sereno Group, Inc., at the Los Gatos Northpoint Office
at 634 N. Santa Cruz Ave. #100, Los Gatos, CA 95030. (cell 408-483-9632, office 408-429-

2140, bart@sereno.com).

STATEMENT OF THE FACTS

On 24 April 2021, Plaintiff self-quarantined with COVID-19, and was not present to care for
his mother, Winifred Gross, Survivor Trustee, Defendants took advantage of Plaintiff absence
to murder Plaintiffs mother, Winifred Gross, Survivor Trustee of a multi-million dollar family
trust (18 USC § 1111).

Defendants failed to notify Plaintiff of the death of Winifred Gross until 27 April 2021, the
day the body was cremated in order to prevent Plaintiff from requesting an autopsy.
Defendant David Gross, Plaintiff's brother, notified Plaintiff by text message on 27 April 2021
that his mother died: “She was ready to go: she could barely walk, her memory was really
failing, she was often in pain, and she had had enough. I'll miss her.”

Defendant David Gross failed to mention the photographs of Winifred Gross enjoying herself
cross-country skiing with her dog. Contemporaneous photos show that Winifred Gross was

not “ready to go”: Winifred Gross was enjoying life with her new dog, Ani, a golden-doodle.

 

 

 

 
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The death certificate lists the cause of death as “Heart Failure” and “Hypertension.” Winifred
Gross had a pacemaker and was taking blood thinners which cause hypotension, low blood
pressure, not hypertension.

Defendants killed Plaintiff's mother, Winifred Gross, because Defendants wanted her money,
and Winifred Gross was inconveniently not going to die for a long time.

Within days of Winifred Gross’s death and before the trust was served on the Plaintiff,
Defendants seized all Plaintiff trust assets, including Plaintiff residence, which Defendant
David Gross and Defendant Mieke Strand proceeded to prepare for sale.

When Plaintiff sought to recover his residential property on 5 May 2021, Defendant William
Hoyt telephoned Plaintiff to tell him that he would harm Plaintiff if Plaintiff interfered with
Defendants’ scheme (18 USC § 373).

Plaintiff promptly moved to Texas, where he assumed Defendants could not harm him, and
pursued the recovery of his trust property by filing a case in the Santa Clara County Probate
Court.

On 8 September 2021, the Santa Clara County Probate Court heard Plaintiff petition to
recover trust property from Defendant Jocelyn Stufflebean, Successor Trustee. The petition
was heard unopposed by Defendant Jocelyn Stufflebean who neither attended the remote
hearing nor was represented by counsel.

What Plaintiff did not know was that Defendant Lauren Jones was a close friend of the
presiding judge, Defendant Julie Amende. Defendant Lauren Jones and Defendant Julie

Amende colluded to obstruct the 8 September 2021 court hearing (18 USC § 1505).

. The Probate Court has refused to communicate with Plaintiff since the 8 September 2021

hearing (18 USC § 1505).
On 25 October 2021, Defendant Jones sent threats by email and though the mail demanding

Plaintiff dismiss the Probate Court case (18 USC § 1343, 18 USC § 876(d)), 18 USC § 1341).

 

 

 
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On 6 December 2021, Plaintiff received an email from the Defendants stating that the
probate court record had been altered to prevent further litigation by Plaintiff (18 USC §
1505).

Plaintiff original petition demands statutory compensation pursuant to CA CCP § 850 and CA
CCP § 857 for property misappropriated by Defendant Jocelyn Stufflebean, Successor
Trustee, in the amount of $15,908, 700.

At the time the petition was heard, Petitioner had not seen the official death certificate and
was not aware that Defendants has murdered his mother, Winifred Gross, the Survivor
Trustee; Plaintiff had proceeding under the assumption that the Defendant beneficiaries
David Gross and Jocelyn Stufflebean had a lawful interest in the trust.

Pursuant to CA CPC 250(a), Defendants David Gross and Jocelyn Stufflebean do not have the
right of any interest or power of appointment, themselves or by nomination, in the trust (CA
CPC 250(a) A person who feloniously and intentionally kills the decedent is not entitled to
any of the following: (1) Any property, interest, or benefit under a will of the decedent, ora
trust created by or for the benefit of the decedent or in which the decedent has an interest,
including any general or special power of appointment conferred by the will or trust on the
killer and any nomination of the killer as executor, trustee, guardian, or conservator or
custodian made by the will or trust.)

Plaintiff is the sole beneficiary of the trust with an estimated value of $12,000,000.
(Defendants have never provided Plaintiff with a trust accounting.)

Plaintiff claims a statutory claim pursuant to CA CCP § 850 and CA CCP § 857 of $36,000,000

that is tripled pursuant to 18 USC § 1964(c) to $108,000,000.

CLAIM |: WRIT OF EXECUTION TO COLLECT DEFENDANT DEBT

 

 

 
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Plaintiff requests writs of execution pursuant to 28 USC § 2303 that Plaintiff may recover the
$108,000,000 owed by Defendants pursuant to CA CCP § 850, CA CCP § 857, and 18 USC §
1964(c).

Defendant Jocelyn Stufflebean has laundered some of the proceeds through Adobe Inc. stock
options.

Defendants have laundered real property through sales to third-party buyers under
California statute CA CCP § 697.740(a) which permits the sales of stolen real estate—in
violation of Plaintiff 4th Amendment rights. (CA CCP § 697.740(a): A person who acquires an
interest in the property under the law of this state for reasonably equivalent value without
knowledge of the lien. For purposes of this subdivision, value is given for a transfer or
encumbrance if, in exchange for the transfer or encumbrance, property is transferred or an
antecedent debt is secured or satisfied.)

Defendant Lauren Jones claims to be in possession of $1,018,949.46 that she alleges belongs
to Plaintiff.

Defendant Jocelyn Stufflebean has sold real estate owned by the trust in the amount of
$5,000,000.

Defendant David Gross has sold real estate in the amount of $3,000,000 with the assistance
of Defendant Bart Call.

The remainder of the stolen property is presumed to be held in banks and brokerage firms.

CLAIM Il: PUNITIVE DAMAGES

Plaintiff requests $200,000,000 in punitive damages for Defendants “malicious disregard of

Plaintiff rights”— civil rights and property rights.

JURY DEMANDED

 

 

 

 
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41. Pursuant to Fed. R. Civ. P. 38(b), Plaintiff hereby demands a trial by jury of all issues so

triable that are raised herein or which hereinafter may be raised in this action.

PRAYER FOR RELIEF

42. Plaintiff requests the court execute writs of execution for total of $308,000,000 against
| Defendants.

43. Plaintiff requests the court provide that the writs of execution may be adjusted for inflation.

|
Dated: 12 December 2021

Submitted,

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Daro B Gross

400 N Evary St, #131432
Dallas, TX 75313

(408) 348-9110
darogross@gmail.com

Plaintiff in Pro Se

 

 

 

 

 
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EXHIBIT A. DEATH CERTIFICATE OF WINIFRED T. GROSS

 
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EXHIBIT B. PHOTOS OF WINIFRED T. GROSS BEFORE HER DEATH

 
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David Gross

 

 
  

Wini went snowshoeing yesterday because the snow was toa sticky
and thick for skis. We made it out amost fifty yards omto the lake!
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under her own steam.

 

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% Santi Fox

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